 OAO 245B       (Rev. 11/16) Judgment in a Criminal Case
               Sheet 1


                                          United States District Court
                   MIDDLE                                            District of                             TENNESSEE

         UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                              V.
                                                                              Case Number:           3:15-00037-11
         JAMES EDWARD JOHNSON, II
                                                                              USM Number:            22731-075

                                                                              Jerry Gonzalez
                                                                              Defendant’s Attorney
THE DEFENDANT:
  X         pleaded guilty to count(s)             One (1)
            pleaded nolo contendere to count(s)
            which was accepted by the court.
            was found guilty on count(s)
            after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                         Nature of Offense                                                     Offense Ended            Count

21 U.S.C. §§ 841(b)(1)(C)               Conspiracy to Possess with Intent to Distribute and to               March 11, 2015         One (1)
and 846                                 Distribute Oxycodone and Oxymorphone



        The defendant is sentenced as provided in pages 2 through             6           of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

            The defendant has been found not guilty on count(s)
          Count(s)                                           is/are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                        November 9, 2016
                                                                                        Date of Imposition of Judgment



                                                                                        Signature of Judge


                                                                                        Todd J. Campbell, U.S. District Judge
                                                                                        Name and Title of Judge


                                                                                        November 9, 2016
                                                                                        Date




              Case 3:15-cr-00037                  Document 730            Filed 11/09/16              Page 1 of 7 PageID #: 2319
                                                                                            Judgment – Page     2     of         6
DEFENDANT:                JAMES EDWARD JOHNSON, II
CASE NUMBER:              3:15-00037-11


                                                           IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

forty-five (45) months concurrent with any sentence imposed in Bartlow County Superior Court, Cartersville, GA; Docket No. 08CR01328




     X           The court makes the following recommendations to the Bureau of Prisons:

                 1. Incarceration near Nashville, Tennessee to be close to family.
                 2. Participation in alcohol and drug treatment.


                 The defendant is remanded to the custody of the United States Marshal.

                 The defendant shall surrender to the United States Marshal for this district:

                                   at                                             a.m.                p.m. on

                                   as notified by the United States Marshal.

     X           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                    X              before 2 p.m. on December 9, 2016                        .

                                   as notified by the United States Marshal.

                                   as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




         Defendant delivered on                                 to

at                                          , with a certified copy of this judgment.



                                                                                            UNITED STATES MARSHAL


                                                                        By
                                                                                         DEPUTY UNITED STATES MARSHAL


             Case 3:15-cr-00037             Document 730             Filed 11/09/16             Page 2 of 7 PageID #: 2320
                                                                                            Judgment – Page   3         of      6
DEFENDANT:                JAMES EDWARD JOHNSON, II
CASE NUMBER:              3:15-00037-11


                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :           three (3) years



                                                  MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
                 abuse. (check if applicable)
4.   X      You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.   G      You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
            by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you reside, work,
            are a student, or were convicted of a qualifying offense. (check if applicable)
6.   G      You must participate in an approved program for domestic violence. (check if applicable)



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.




             Case 3:15-cr-00037              Document 730            Filed 11/09/16          Page 3 of 7 PageID #: 2321
                                                                                  Judgment – Page    3A       of       6
DEFENDANT:            JAMES EDWARD JOHNSON, II
CASE NUMBER:          3:15-00037-11

                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep
informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.



Defendant's Signature__________________________________________                   Date _________________________________



              Case 3:15-cr-00037             Document 730            Filed 11/09/16          Page 4 of 7 PageID #: 2322
                                                                              Judgment – Page   4    of      6
DEFENDANT:         JAMES EDWARD JOHNSON, II
CASE NUMBER:       3:15-00037-11


                                    SPECIAL CONDITIONS OF SUPERVISION


1.   The Defendant is prohibited from owning, carrying or possessing firearms, ammunition, destructive devices or other
     dangerous weapons.

2.   The Defendant shall participate in a program of drug testing and substance abuse treatment which may include a 30-
     day inpatient treatment program followed by up to 90 days in a community correction center at the direction of the
     Probation Officer. The Defendant shall pay all or part of the cost for substance abuse treatment if the United States
     Probation Office determines the Defendant has the financial ability to do so or has appropriate insurance coverage
     to pay for such treatment.

3.   The Defendant shall promptly advise the United States Probation Office of the name and contact information for any
     physician who prescribes any controlled substance and for any pharmacy that dispenses a controlled substance on
     behalf of the Defendant and agrees to execute a release of information form so that medical records may be obtained
     from such physician and/or pharmacy.

4.   The Defendant shall furnish all financial records, including, without limitation, earnings records and tax returns, to
     the United States Probation Office upon request.

5.   The Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.




            Case 3:15-cr-00037        Document 730         Filed 11/09/16      Page 5 of 7 PageID #: 2323
                                                                                                Judgment – Page    5       of      6
DEFENDANT:           JAMES EDWARD JOHNSON, II
CASE NUMBER:         3:15-00037-11


                                             CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached sheet.

                 Assessment          JVTA Assessment*                       Fine                                   Restitution
TOTALS           $100.00             $0.00                                  $0.00                                  $0.00



              The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will
              be entered after such determination.

              The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

              If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
              otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
              victims must be paid before the United States is paid.

Name of Payee                             Total Loss**                  Restitution Ordered                        Priority or Percentage




TOTALS                               $                                  $

              Restitution amount ordered pursuant to plea agreement $

              The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
              the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
              subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

              The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    the interest requirement is waived for the              fine                            restitution.

                    the interest requirement for the             fine               restitution is modified as follows:

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.




             Case 3:15-cr-00037             Document 730                Filed 11/09/16           Page 6 of 7 PageID #: 2324
                                                                                     Judgment – Page         6           of      6
DEFENDANT: JAMES EDWARD JOHNSON, II
CASE NUMBER: 3:15-00037-11

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A                    Lump sum payment of $                             due immediately, balance due

                              not later than                          , or
                              in accordance                         C,                 D,                                E, or               F below; or

B        X           Payment to begin immediately (may be combined with               C,                         D, or           F below); or

C                    Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $              over a period of
                                         (e.g., months or years), to commence                            (e.g., 30 or 60 days) after the date of this
                     judgment; or

D                    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $              over a period of
                                       (e.g., months or years), to commence                             (e.g., 30 or 60 days) after release from
                     imprisonment to a term of supervision; or

E                    Payment during the term of supervised release will commence within              (e.g., 30 or 60 days) after release from
                     imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F                    Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


                Joint and Several

                Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
                and corresponding payee, if appropriate.




                The defendant shall pay the cost of prosecution.

                The defendant shall pay the following court cost(s):

                The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including the cost of prosecution and court costs.




               Case 3:15-cr-00037                Document 730                Filed 11/09/16         Page 7 of 7 PageID #: 2325
